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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTIRCT OF ILLINOIS

LARRY CLARK, JOSEPH HAUSER,                    )
LYDIA JOHNSON, and LINDA CAVAZOS,              )
individually, and on behalf of those           )
similarly situated,                            )
                                               )           No.: 3:22-cv-00628-NJR
                       Plaintiffs,             )
                                               )           Honorable Nancy J. Rosenstengel
v.                                             )
                                               )
MCDONALD’S CORPORATION,                        )
                                               )
                     Defendant.                )

               MCDONALD’S CORPORATION’S MOTION TO DISMISS
                THE FIRST AMENDED CLASS ACTION COMPLAINT

       Defendant McDonald’s Corporation (“McDonald’s”), by and through its undersigned

counsel, respectfully submits this motion to dismiss Plaintiffs’ First Amended Class Action

Complaint (ECF No. 9) pursuant to Rules 12(b)(1), 12(b)(3), and 12(b)(6) of the Federal Rules of

Civil Procedure.

       For the reasons discussed herein and in the accompanying Brief in Support of McDonald’s

Corporation’s Motion to Dismiss the First Amended Class Action Complaint, McDonald’s

respectfully requests that the Court grant McDonald’s Corporation’s Motion to Dismiss the First

Amended Class Action Complaint.

       Dated: June 1, 2022                  Respectfully submitted,

                                            /s/ Trenton H. Norris
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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that the above filing was served upon counsel

of record via the Court’s electronic filing system on June 1, 2022.

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